10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

Case 2:96-cr-OO.WBS Document 553 Filed Ol/O% Page 1 of 1

JOHN sALAzs, ear #15?237 | 'LED

Attorney At Lew

916 2nd Street, Suite F J _
Seeremento, Celifornis 95814 c]%_n AN 4 2006
Telephone: (916) 447~9299 EA *\`.U-S‘msr
J@hn@saiazslaw.esm ,, s "NDrsrmcrg¢'=%'A?_f§%%RM

Attorney for Defendent
HUY CHI LUONG

IN THE UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT DF CALIFORNIA

UNITED STATEB OF AMERICA, ) NO. CR-S BB-BED-WES
)
}Z"le.intiff,r ) DEFENDANT HUY CHI LUONG'S
) RESPONSE TO GOVERNMENT’S EX PARTE
) APPLICATION FOR AN EXTENSION OF
V. ) TIME TO RESPOND TO DEFENDANTS'
) PENDING MOTIONS
HUY CHI LUONG, et. el., ]
} Dete: annery 25, 2006
) Time: lO:OO e.m.
) Hon. Williem E. Shubb

Defendente.

 

In en ex parte application filed Deoember 30, 2005, the government
moves to extend that time for filing its responses te defendente’
motions five days from Deoember 30, 2005 to Jenuery 4, 2006.
Defendants’ reply briefs are currently due Jenusry 11, 2006, end a
hearing on the motions is set for anuery 25, 2006. Defendent Huy Cni
Ludnq does net dppese the government’s request ss long ss the Ceurt
else extends the due date for defendents' reply briefs by five days
from Jenuery 11r EOUE, te Jenusry 15, 2006.

Deted: Jenuery 2, 2006
Reepectfully eubmitted,

”’A 155 JOHN snLAzs
" JDHN sALAzs

AA#H,/V{' Attorney for Defendent Huy Chi Luong

 

